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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION


AUGUST DEKKER, et al.,

      Plaintiffs,

vs.                                          Case No. 4:22cv325-RH-MAF

JASON WEIDA, et al.,

     Defendants.
_____________________________/


                                 ORDER

      A motion has been filed by attorney Emily M. Mondry, seeking leave

to proceed pro hac vice on behalf of amici curiae. ECF No. 243. Counsel

has demonstrated that she does not regularly practice law in the State of

Florida and is an active member in good standing of the Bar of the District

of Columbia. Id. Ms. Mondry has completed this Court’s local rules

tutorial, and the docket confirms that the $208 pro hac vice admission fee

has been paid. Id. The motion, ECF No. 243, is in compliance with N.D.

Fla. Loc. R. 11.1(C) and is GRANTED.
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      Accordingly, it is ORDERED that the motion for leave to appear pro

hac vice for amicus curiae, ECF No. 243, is GRANTED.

      DONE AND ORDERED on May 26, 2023.


                                 S/ Martin A. Fitzpatrick
                                 MARTIN A. FITZPATRICK
                                 UNITED STATES MAGISTRATE JUDGE




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